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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Meta Platforms, Inc., et al.,                     No. CV-20-00470-PHX-GMS
10                  Plaintiffs,                        ORDER
11   v.
12   Namecheap Incorporated, et al.,
13                  Defendants.
14
     WhoisGuard, Inc.,
15
                   Counterclaimant,
16
     v.
17
     Meta Platforms, Inc.,
18
                   Counterclaim Defendant.
19
20
           Before the Court is the parties’ Stipulation to Dismiss With Prejudice (Doc. 196).
21
     Good cause appearing,
22
           IT IS HEREBY ORDERED granting the parties’ Stipulation (Doc. 196).
23
           IT IS FURTHER ORDERED dismissing this action, including all claims and
24
     counterclaims, with prejudice with each party to bear its own costs and fees.
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           Dated this 25th day of April, 2022.
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